             Case 2:20-cv-05008-JFW-KS           Document 13 Filed 06/17/20   Page 1 of 21 Page ID
                                                        #:167


                   1 Mark F. Lovell CA Bar No. 246652
                       mark.lovell@ogletree.com
                   2 Shera Y. Kwak CA Bar No. 329168
                       shera.kwak@ogletree.com
                   3 OGLETREE, DEAKINS, NASH,
                       SMOAK & STEWART, P.C.
                   4 Park Tower, Fifteenth Floor
                       695 Town Center Drive
                   5 Costa Mesa, CA 92626
                       Telephone: 714-800-7900
                   6 Facsimile:   714-754-1298
                   7 Attorneys for Defendant
                       AIRPORT TERMINAL SERVICES, INC.
                   8

                   9                           UNITED STATES DISTRICT COURT
                  10         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                  11

                  12 EDGAR TRUJILLO,                            Case No. 2:20-cv-05008-JFW-KS
                  13              Plaintiff,                    DECLARATION RE:
                  14        v.                                  (1) FILING OF NOTICE OF
                                                                REMOVAL AND NOTICE TO CLERK
                  15
                     AIRPORT TERMINAL SERVICES,                 IN LOS ANGELES COUNTY
                                                                SUPERIOR COURT AND SERVICE
                  16 INC., a Missouri corporation; and          OF NOTICE OF REMOVAL ON
                     DOES 1 through 20, inclusive,              PLAINTIFF; AND
                  17
                                  Defendants.                   (2) FILING OF PROOF OF SERVICE
                  18

                  19                                            Complaint Filed: April 3, 2020
                                                                Trial Date:       None Set
                  20                                            District Judge: Hon. John F. Walter
                                                                Magistrate Judge: Hon. Karen L. Stevenson
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                                                                                 Case No. 2:20-cv-05008-JFW-KS
                           DECLARATION REGARDING FILING AND SERVICE OF NOTICE OF
                                               REMOVAL
             Case 2:20-cv-05008-JFW-KS               Document 13 Filed 06/17/20    Page 2 of 21 Page ID
                                                            #:168


                   1                          DECLARATION OF SHERA Y. KWAK
                   2          I, Shera Y. Kwak, declare as follows:
                   3          1.    I am an attorney with the law firm of Ogletree, Deakins, Nash, Smoak &
                   4   Stewart, P.C., counsel of record for Defendant Airport Terminal Services, Inc.
                   5   (“Defendant”). I am licensed to practice before this Court and before all of the courts
                   6   of the State of California.
                   7          2.    I have personal knowledge of the matters set forth in this Declaration and,
                   8   if called as a witness, could and would testify competently thereto.
                   9          3.    On June 5, 2020, Defendant’s Notice of Removal of Civil Action (the
                  10   “Notice of Removal”) was filed in this Court.
                  11          4.    On June 10, 2020, after filing the Notice of Removal in this Court, I
                  12   caused Defendant’s Notice of Stay of Proceedings, Notice to Clerk of the Superior
                  13   Court of the County of Los Angeles and Notice to Adverse Party of Removal of Civil
                  14   Action to United States District Court for the Central District of California (the “State
                  15   Court Notice”) to be filed in the Los Angeles County Superior Court, where this action
                  16   had been pending. Attached as Exhibit “A” is a true and correct copy of the Notice of
                  17   Stay of Proceedings and Notice to Clerk and Adverse Party.
                  18          5.    Attached hereto as Exhibit “B” is the Proof of Service of the Notice of
                  19   Removal.
                  20          6.    Attached hereto as Exhibit “C” is the Proof of Service of the Notice to
                  21   Plaintiff and Clerk.
                  22   ///
                  23   ///
                  24   ///
                  25   ///
                  26   ///
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                  28   ///
                                                      1            Case No. 2:20-cv-05008-JFW-KS
                             DECLARATION REGARDING FILING AND SERVICE OF NOTICE OF
                                                 REMOVAL
             Case 2:20-cv-05008-JFW-KS           Document 13 Filed 06/17/20        Page 3 of 21 Page ID
                                                        #:169


                   1         I declare under the penalty of perjury under the laws of California and the United
                   2   States of America that the foregoing is true and correct.
                   3

                   4         Executed on June 17, 2020, at Costa Mesa, California.
                   5

                   6                                                 /s/ Shera Y. Kwak
                                                                     Shera Y. Kwak
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                                                     2            Case No. 2:20-cv-05008-JFW-KS
                            DECLARATION REGARDING FILING AND SERVICE OF NOTICE OF
                                                REMOVAL
Case 2:20-cv-05008-JFW-KS   Document 13 Filed 06/17/20   Page 4 of 21 Page ID
                                   #:170




                 EXHIBIT A

                                                          Exhibit A, Page 3
                Case 2:20-cv-05008-JFW-KS                            Document 13 Filed 06/17/20                               Page 5 of 21 Page ID
Electronically FILED by Superior Court of California, County of Los Angeles on 06/10/2020 04:45 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Hung,Deputy Clerk
                                                                            #:171
                                                                                                                                                                       CM-180
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                       FOR COURT USE ONLY
       Mark F. Lovell (No: 246652) Shera Y. Kwak (No. 329168)
       Ogletree, Deakins, Nash, Smoak & Stewart PC
       695 Town Center Drive, Suite 1500
       Costa Mesa, CA 92626
                  TELEPHONE NO.: (714) 800-7900           FAX NO. (Optional): (714) 754-1298

         E-MAIL ADDRESS (Optional): shera.kwak@ogletree.com

            ATTORNEY FOR (Name): Defendant Airport Terminal Services, Inc.

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
       STREET ADDRESS: 111 N. Hill Street

        MAILING ADDRESS:

     CITY AND ZIP CODE:       Los Angeles, CA 90017
          BRANCH NAME:        Stanley Mosk Courthouse
      PLAINTIFF/PETITIONER:                    EDGAR TRUJILLO

      DEFENDANT/RESPONDENT: AIRPORT TERMINAL SERVICES, INC.

                                                                                                                          CASE NUMBER:
                                                                                                                          20STCV13293
                                       NOTICE OF STAY OF PROCEEDINGS
                                                                                                                          JUDGE: Hon. Richard J. Burdge

                                                                                                                          DEPT.:    37
   To the court and to all parties:
   1.      Declarant (name): Shera Y. Kwak, Esq.
           a.            is            the party            the attorney for the party who requested or caused the stay.

           b.            is       the plaintiff or petitioner      the attorney for the plaintiff or petitioner. The party who requested the stay
                         has not appeared in this case or is not subject to the jurisdiction of this court.

   2. This case is stayed as follows:
          a.              With regard to all parties.
          b.             With regard to the following parties (specify by name and party designation):

   3.     Reason for the stay:
          a.              Automatic stay caused by a filing in another court. (Attach a copy of the Notice of Commencement of Case, the
                          bankruptcy petition, or other document showing that the stay is in effect, and showing the court, case number,
                          debtor, and petitioners.)
          b.              Order of a federal court or of a higher California court. (Attach a copy of the court order.)
          c.             Contractual arbitration under Code of Civil Procedure section 1281.4. (Attach a copy of the order directing
                         arbitration.)
          d.             Arbitration of attorney fees and costs under Business and Professions Code section 6201. (Attach a copy of the
                         client's request for arbitration showing filing and service.)
          e.             Other:


   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

   Date: June 9, 2020

   Shera Y. Kwak                                                                                  "
                              (TYPE OR PRINT NAME OF DECLARANT)                                                                  (SIGNATURE)




                                                                                                                                                                        Page 1 of 1
    Form Adopted for Mandatory Use                                                                                                                    Cal. Rules of Court, rule 3.650
      Judicial Council of California                     NOTICE OF STAY OF PROCEEDINGS                                                                         www.courtinfo.ca.gov
    CM-180 [Rev. January 1, 2007]



                                                                                                                                   Exhibit A, Page     4
                                                                                                                                                        American LegalNet, Inc.
                                                                                                                                               www.FormsWorkflow.com
                  Case 2:20-cv-05008-JFW-KS          Document 13 Filed 06/17/20              Page 6 of 21 Page ID
                                                            #:172


                   1                                        PROOF OF SERVICE
                                             Edgar Trujillo v. Airport Terminal Services, Inc., et al.
                   2                                        Case No. 20STCV13293
                   3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                       action in which this service is made. At all times herein mentioned I have been employed in the
                   4   County of Orange in the office of a member of the bar of this court at whose direction the service
                       was made. My business address is Park Tower, Fifteenth Floor, 695 Town Center Drive, Costa
                   5   Mesa, CA 92626.
                   6          On June 10, 2020, I served the following document(s):
                   7                                           NOTICE OF STAY
                   8   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                       attached service list.
                   9
                       ☒      BY MAIL: I placed the envelope for collection and mailing, following our ordinary business
                  10          practices. I am readily familiar with the practice of Ogletree, Deakins, Nash, Smoak &
                              Stewart, P.C.’s practice for collecting and processing correspondence for mailing. On the
                  11          same day that correspondence is placed for collection and mailing, it is deposited in the
                              ordinary course of business with the United States Postal Service, in a sealed envelope with
                  12          postage fully prepaid.
                  13   ☐      BY MAIL: I deposited the sealed envelope with the United States Postal Service, with the
                              postage fully prepaid at Park Tower, Fifteenth Floor, 695 Town Center Drive, Costa Mesa,
                  14          CA 92626.
                  15   ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                              by the express service carrier for collection and overnight delivery by following the ordinary
                  16          business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Costa Mesa,
                              California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                  17          practice for collecting and processing of correspondence for overnight delivery, said practice
                              being that, in the ordinary course of business, correspondence for overnight delivery is
                  18          deposited with delivery fees paid or provided for at the carrier’s express service offices for
                              next-day delivery.
                  19
                       ☐      BY MESSENGER SERVICE: (1) For a party represented by an attorney, delivery was
                  20          made to the attorney or at the attorney’s office by leaving the documents in an envelope or
                              package clearly labeled to identify the attorney being served with a receptionist or an
                  21          individual in charge of the office. (2) For a party, delivery was made to the party or by leaving
                              the documents at the party’s residence with some person not less than 18 years of age between
                  22          the hours of eight in the morning and six in the evening.
                  23   ☐      BY FACSIMILE by transmitting a facsimile transmission a copy of said document(s) to the
                              following addressee(s) at the following number(s), in accordance with:
                  24
                                     ☐       the written confirmation of counsel in this action:
                  25
                                     ☐       [State Court motion, opposition, or reply only] Code of Civil Procedure
                  26                         section 1005(b):
                  27   ☐      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
43060355_1.docx               agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                  28          documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                              list. I did not receive, within a reasonable time after the transmission, any electronic message
                                                                            1
                                                                PROOF OF SERVICE               Exhibit A, Page 5
                  Case 2:20-cv-05008-JFW-KS        Document 13 Filed 06/17/20              Page 7 of 21 Page ID
                                                          #:173


                   1        or other indication that the transmission was unsuccessful.
                   2   ☒    (State)         I declare under penalty of perjury under the laws of the State of California that
                            the above is true and correct.
                   3
                            Executed on June 10, 2020, at Costa Mesa, California.
                   4

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                   9                                                        Lisa Sles
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                                                              PROOF OF SERVICE               Exhibit A, Page 6
                  Case 2:20-cv-05008-JFW-KS   Document 13 Filed 06/17/20       Page 8 of 21 Page ID
                                                     #:174


                   1                                  SERVICE LIST
                   2

                   3   Ramin R. Younessi, Esq.               Attorneys for Plaintiff Edgar Trujillo
                       LAW OFFICES OF RAMIN R. YOUNESSI
                   4   A PROFESSIONAL LAW CORPORATION
                       3435 Wilshire Blvd., Suite 2200
                   5   Los Angeles, CA 90010
                       Telephone:    213-480-6200
                   6   Facsimile:    213-4806201
                       ryounessi@younessilaw.com
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                                                     PROOF OF SERVICE            Exhibit A, Page 7
                    Case 2:20-cv-05008-JFW-KS                          Document 13 Filed 06/17/20                                Page 9 of 21 Page ID
Electronically FILED by Superior Court of California, County of Los Angeles on 06/10/2020 04:45 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Hung,Deputy Clerk
                                                                              #:175


                     1   Mark F. Lovell, CA Bar No. 246652
                         mark.lovell@ogletree.com
                     2   Shera Y. Kwak, CA Bar No. 329168
                         shera.kwak@ogletree.com
                     3   OGLETREE, DEAKINS, NASH, SMOAK &
                         STEWART, P.C.
                     4   Park Tower, Fifteenth Floor
                         695 Town Center Drive
                     5   Costa Mesa, CA 92626
                         Telephone:    714-800-7900
                     6   Facsimile:    714-754-1298
                     7   Attorneys for Defendant
                         AIRPORT TERMINAL SERVICES, INC.
                     8

                     9                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    10                                             FOR THE COUNTY OF LOS ANGELES
                    11                                                             CENTRAL DIVISION
                    12   EDGAR TRUJILLO,                                                                 Case No. 20STCV13293

                    13                          Plaintiff,                                               DEFENDANT AIRPORT TERMINAL
                                                                                                         SERVICES, INC.’S NOTICE TO THE
                    14               vs.                                                                 STATE COURT AND TO PLAINTIFF OF
                                                                                                         FILING NOTICE OF REMOVAL IN
                    15   AIRPORT TERMINAL SERVICES, INC., a                                              FEDERAL COURT
                         Missouri corporation; and DOES 1 through 20,
                    16   inclusive,                                                                      [Assigned for all purposes to The Honorable
                                                                                                         Richard J. Burdge, Dept. 37]
                    17                          Defendants.

                    18                                                                                   Action Filed:                  April 3, 2020
                                                                                                         Trial Date:                    None Set
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                                                                                                     1
                                 DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE TO THE STATE COURT AND TO
                                                                                         Exhibit
                                           PLAINTIFF OF FILING NOTICE OF REMOVAL IN FEDERAL      A, Page 8
                                                                                             COURT
              Case 2:20-cv-05008-JFW-KS              Document 13 Filed 06/17/20             Page 10 of 21 Page ID
                                                            #:176


                   1          TO THIS HONORABLE COURT, THE CLERK OF THE COURT TO PLAINTIFF
                   2   EDGAR TRUJILLO AND HIS COUNSEL OF RECORD:
                   3          PLEASE TAKE NOTICE that on June 5, 2020, Defendant Airport Terminal Services, Inc.’s
                   4   (“Defendant”) filed in the United States District Court for the Central District of California, Western
                   5   Division, a Notice of Removal of Civil Action to United States District Court under 28 U.S.C. §§
                   6   1332, 1441, and 1446, thereby effectuating the removal of this case to the aforementioned United
                   7   States District Court. The United States District Court Case No. is 2:20-cv-05008-JFW-KS.
                   8   Attached to this Notice as Exhibit “1” are true and correct copies of the filed Notice of Removal,
                   9   Civil Cover Sheet, Certificate of Interested Parties, Corporate Disclosure Statement, Declaration of
                  10   Brandy Wallace in Support of Notice of Removal, Notice of Related Cases, Notice of Assignment,
                  11   Notice to Parties of Court Directed ADR Program, Order Dismissing Doe Defendants, and
                  12   Honorable John F. Walters’ Standing Order, which were filed in the United States District Court for
                  13   the Central District of California, Western Division.
                  14          As a result of the removal of the above-entitled action from this Court, this Court is without
                  15   jurisdiction to take further action with respect to this matter unless and until the case is remanded.
                  16   28 U.S.C. § 1446(d).
                  17

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                  19   DATED: June 9, 2020                                OGLETREE, DEAKINS, NASH, SMOAK &
                                                                          STEWART, P.C.
                  20

                  21

                  22                                                      By:
                                                                                Mark F. Lovell
                  23                                                            Shera Y. Kwak
                  24                                                      Attorneys for Defendant
                                                                          AIRPORT TERMINAL SERVICES, INC.
                  25
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                                                                         2
                            DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE TO THE STATE COURT AND TO
                                                                                    Exhibit
                                      PLAINTIFF OF FILING NOTICE OF REMOVAL IN FEDERAL      A, Page 9
                                                                                        COURT
Case 2:20-cv-05008-JFW-KS   Document 13 Filed 06/17/20   Page 11 of 21 Page ID
                                   #:177




                  EXHIBIT B

                                                         Exhibit B, Page 10
            CaseCase
                 2:20-cv-05008-JFW-KS  Document
                     2:20-cv-05008 Document      13 06/05/20
                                            1 Filed   Filed 06/17/20  Page
                                                              Page 52 of 54 12 of 21
                                                                            Page       Page ID
                                                                                   ID #:52
                                                #:178


                   1                                 PROOF OF SERVICE
                                      Edgar Trujillo v. Airport Terminal Services, Inc., et al.
                   2                                  Case No. 2:20-cv-5008
                   3        I am and was at all times herein mentioned over the age of 18 years and not a
                     party to the action in which this service is made. At all times herein mentioned I have
                   4 been employed in the County of Orange in the office of a member of the bar of this
                     court at whose direction the service was made. My business address is 695 Town
                   5 Center Drive, Suite 1500, Costa Mesa, CA 92626.

                   6         On June 5, 2020, I served the following document(s):
                   7       DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE OF
                            REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §§ 1332 AND 1441
                   8
                                                [DIVERSITY JURISDICTION]
                   9
                       by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
                  10   follows:
                  11   ☒     BY MAIL: I placed the envelope for collection and mailing, following our
                             ordinary business practices. I am readily familiar with the practice of Ogletree,
                  12         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                             correspondence for mailing. On the same day that correspondence is placed for
                  13         collection and mailing, it is deposited in the ordinary course of business with
                             the United States Postal Service, in a sealed envelope with postage fully prepaid.
                  14
                       ☐     BY MAIL: I deposited the sealed envelope with the United States Postal
                  15         Service, with the postage fully prepaid at Park Tower, Fifteenth Floor, 695
                             Town Center Drive, Costa Mesa, CA 92626.
                  16
                       ☐     BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s)
                  17         designated by the express service carrier for collection and overnight delivery
                             by following the ordinary business practices of Ogletree, Deakins, Nash, Smoak
                  18         & Stewart P.C., Costa Mesa, California. I am readily familiar with Ogletree,
                             Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                  19         of correspondence for overnight delivery, said practice being that, in the
                             ordinary course of business, correspondence for overnight delivery is deposited
                  20         with delivery fees paid or provided for at the carrier’s express service offices
                             for next-day delivery.
                  21
                       ☐     BY MESSENGER SERVICE: (1) For a party represented by an attorney,
                  22         delivery was made to the attorney or at the attorney’s office by leaving the
                             documents in an envelope or package clearly labeled to identify the attorney
                  23         being served with a receptionist or an individual in charge of the office. (2) For
                             a party, delivery was made to the party or by leaving the documents at the
                  24         party’s residence with some person not less than 18 years of age between the
                             hours of eight in the morning and six in the evening.
                  25
                       ☐     BY FACSIMILE: by transmitting a facsimile transmission a copy of said
                  26         document(s) to the following addressee(s) at the following number(s), in
                             accordance with:
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                                   ☐      the written confirmation of counsel in this action:
                  28
                                                     9                      Case No. 2:20-cv-5008
                            DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE OF
                            REMOVAL OF CIVIL ACTION UNDER 28 U.S.C.Exhibit
                                                                    §§ 1332B,AND
                                                                              Page1441 11
            CaseCase
                 2:20-cv-05008-JFW-KS  Document
                     2:20-cv-05008 Document      13 06/05/20
                                            1 Filed   Filed 06/17/20  Page
                                                              Page 53 of 54 13 of 21
                                                                            Page       Page ID
                                                                                   ID #:53
                                                #:179


                   1                ☐     [Federal Court] the written confirmation of counsel in this action
                                          and order of the court:
                   2
                       ☐     BY CM/ECF: With the Clerk of the United States District Court of California,
                   3         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
                             notification of the foregoing filing to the parties and counsel of record who are
                   4         registered with the Court’s CM/ECF System.
                   5   ☒     (Federal)    I declare that I am employed in the office of a member of the State
                                          Bar of this Court at whose direction the service was made. I
                   6                      declare under penalty of perjury under the laws of the United States
                                          of America that the above is true and correct.
                   7
                       ☐     (Federal)    I declare that I am a member of the State Bar of this Court at whose
                   8                      direction the service was made. I declare under penalty of perjury
                                          under the laws of the United States of America that the above is
                   9                      true and correct.
                  10          I declare under penalty of perjury under the laws of the United States of America
                       that the above is true and correct.
                  11

                  12         Executed on June 5, 2020, at Costa Mesa, California.
                  13

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                  17                                                 Lisa Sles
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                                                     10                     Case No. 2:20-cv-5008
                            DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE OF
                            REMOVAL OF CIVIL ACTION UNDER 28 U.S.C.Exhibit
                                                                    §§ 1332B,AND
                                                                              Page1441 12
            CaseCase
                 2:20-cv-05008-JFW-KS  Document
                     2:20-cv-05008 Document      13 06/05/20
                                            1 Filed   Filed 06/17/20  Page
                                                              Page 54 of 54 14 of 21
                                                                            Page       Page ID
                                                                                   ID #:54
                                                #:180


                   1                              SERVICE LIST
                   2

                   3   Ramin R. Younessi, Esq.          Attorneys for Plaintiff Edgar Trujillo
                       LAW OFFICES OF RAMIN R. YOUNESSI
                   4   A PROFESSIONAL LAW CORPORATION
                       3435 Wilshire Blvd., Suite 2200
                   5   Los Angeles, CA 90010
                       Telephone: 213-480-6200
                   6   Facsimile: 213-4806201
                       ryounessi@younessilaw.com
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                                                   11                     Case No. 2:20-cv-5008
                          DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE OF
                          REMOVAL OF CIVIL ACTION UNDER 28 U.S.C.Exhibit
                                                                  §§ 1332B,AND
                                                                            Page1441 13
Case 2:20-cv-05008-JFW-KS   Document 13 Filed 06/17/20   Page 15 of 21 Page ID
                                   #:181




                  EXHIBIT C

                                                         Exhibit C, Page 14
              Case 2:20-cv-05008-JFW-KS              Document 13 Filed 06/17/20             Page 16 of 21 Page ID
                                                            #:182


                   1
                                                            PROOF OF SERVICE
                   2                         Edgar Trujillo v. Airport Terminal Services, Inc., et al.
                                                            Case No. 20STCV13293
                   3
                               I am and was at all times herein mentioned over the age of 18 years and not a party to the
                   4   action in which this service is made. At all times herein mentioned I have been employed in the
                       County of Orange in the office of a member of the bar of this court at whose direction the service
                   5   was made. My business address is Park Tower, Fifteenth Floor, 695 Town Center Drive, Costa
                       Mesa, CA 92626.
                   6
                              On June 10, 2020, I served the following document(s):
                   7
                           DEFENDANT AIRPORT TERMINAL SERVICES, INC.’S NOTICE TO THE STATE
                   8        COURT AND TO PLAINTIFF OF FILING NOTICE OF REMOVAL IN FEDERAL
                                                        COURT
                   9
                       by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on the
                  10   attached service list.
                  11   ☒      BY MAIL: I placed the envelope for collection and mailing, following our ordinary business
                              practices. I am readily familiar with the practice of Ogletree, Deakins, Nash, Smoak &
                  12          Stewart, P.C.’s practice for collecting and processing correspondence for mailing. On the
                              same day that correspondence is placed for collection and mailing, it is deposited in the
                  13          ordinary course of business with the United States Postal Service, in a sealed envelope with
                              postage fully prepaid.
                  14
                       ☐      BY MAIL: I deposited the sealed envelope with the United States Postal Service, with the
                  15          postage fully prepaid at Park Tower, Fifteenth Floor, 695 Town Center Drive, Costa Mesa,
                              CA 92626.
                  16
                       ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s) designated
                  17          by the express service carrier for collection and overnight delivery by following the ordinary
                              business practices of Ogletree, Deakins, Nash, Smoak & Stewart P.C., Costa Mesa,
                  18          California. I am readily familiar with Ogletree, Deakins, Nash, Smoak & Stewart P.C.’s
                              practice for collecting and processing of correspondence for overnight delivery, said practice
                  19          being that, in the ordinary course of business, correspondence for overnight delivery is
                              deposited with delivery fees paid or provided for at the carrier’s express service offices for
                  20          next-day delivery.
                  21   ☐      BY MESSENGER SERVICE: (1) For a party represented by an attorney, delivery was
                              made to the attorney or at the attorney’s office by leaving the documents in an envelope or
                  22          package clearly labeled to identify the attorney being served with a receptionist or an
                              individual in charge of the office. (2) For a party, delivery was made to the party or by leaving
                  23          the documents at the party’s residence with some person not less than 18 years of age between
                              the hours of eight in the morning and six in the evening.
                  24
                       ☐      BY FACSIMILE by transmitting a facsimile transmission a copy of said document(s) to the
                  25          following addressee(s) at the following number(s), in accordance with:
                  26                 ☐       the written confirmation of counsel in this action:
                  27                 ☐       [State Court motion, opposition, or reply only] Code of Civil Procedure
43127205_1.docx                              section 1005(b):
                  28
                       ☐      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                                                        1
                                                                PROOF OF SERVICE             Exhibit C, Page 15
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                   1       agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                           documents to be sent to the person(s) at the e-mail addresses listed on the attached service
                   2       list. I did not receive, within a reasonable time after the transmission, any electronic message
                           or other indication that the transmission was unsuccessful.
                   3
                       ☒   (State)         I declare under penalty of perjury under the laws of the State of California that
                   4       the above is true and correct.
                   5       Executed on June 10, 2020, at Costa Mesa, California.
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                  11                                                       Lisa Sles

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                                                             PROOF OF SERVICE             Exhibit C, Page 16
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                                                 #:184


                   1                               SERVICE LIST
                   2

                   3   Ramin R. Younessi, Esq.            Attorneys for Plaintiff Edgar Trujillo
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                   4   A PROFESSIONAL LAW CORPORATION
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                   6   Facsimile:    213-4806201
                       ryounessi@younessilaw.com
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                                                  PROOF OF SERVICE          Exhibit C, Page 17
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                                                       #:185


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                                                     PROOF OF SERVICE
                   2                  Edgar Trujillo v. Airport Terminal Services, Inc., et al.
                                               Case No. 2:20-cv-05008-JFW-KS
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                   4        I am and was at all times herein mentioned over the age of 18 years and not a
                     party to the action in which this service is made. At all times herein mentioned I have
                   5 been employed in the County of Orange in the office of a member of the bar of this
                     court at whose direction the service was made. My business address is 695 Town
                   6 Center Drive, Suite 1500, Costa Mesa, CA 92626.

                   7         On June 17, 2020, I served the following document(s):

                   8                                  DECLARATION RE:

                   9   (1) FILING OF NOTICE OF REMOVAL AND NOTICE TO CLERK IN SAN
                       BERNARDINO COUNTY SUPERIOR COURT AND SERVICE OF NOTICE
                  10                   OF REMOVAL ON PLAINTIFF; AND

                  11                         (2) FILING OF PROOF OF SERVICE

                  12   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
                       follows:
                  13
                       ☐     BY MAIL: I placed the envelope for collection and mailing, following our
                  14         ordinary business practices. I am readily familiar with the practice of Ogletree,
                             Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                  15         correspondence for mailing. On the same day that correspondence is placed for
                             collection and mailing, it is deposited in the ordinary course of business with
                  16         the United States Postal Service, in a sealed envelope with postage fully prepaid.

                  17   ☐     BY MAIL: I deposited the sealed envelope with the United States Postal
                             Service, with the postage fully prepaid at Park Tower, Fifteenth Floor, 695
                  18         Town Center Drive, Costa Mesa, CA 92626.

                  19   ☐     BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s)
                             designated by the express service carrier for collection and overnight delivery
                  20         by following the ordinary business practices of Ogletree, Deakins, Nash, Smoak
                             & Stewart P.C., Costa Mesa, California. I am readily familiar with Ogletree,
                  21         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                             of correspondence for overnight delivery, said practice being that, in the
                  22         ordinary course of business, correspondence for overnight delivery is deposited
                             with delivery fees paid or provided for at the carrier’s express service offices
                  23         for next-day delivery.

                  24   ☐     BY MESSENGER SERVICE: (1) For a party represented by an attorney,
                             delivery was made to the attorney or at the attorney’s office by leaving the
                  25         documents in an envelope or package clearly labeled to identify the attorney
                             being served with a receptionist or an individual in charge of the office. (2) For
                  26         a party, delivery was made to the party or by leaving the documents at the
                             party’s residence with some person not less than 18 years of age between the
                  27         hours of eight in the morning and six in the evening.
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                                                              1                      Case No. 2:20-cv-05008-JFW-KS
                                                       PROOF OF SERVICE
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                   1   ☐    BY FACSIMILE: by transmitting a facsimile transmission a copy of said
                            document(s) to the following addressee(s) at the following number(s), in
                   2        accordance with:
                   3               ☐     the written confirmation of counsel in this action:
                   4               ☐     [Federal Court] the written confirmation of counsel in this action
                                         and order of the court:
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                   6
                       ☒    BY CM/ECF: With the Clerk of the United States District Court of California,
                            using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
                   7
                            notification of the foregoing filing to the parties and counsel of record who are
                            registered with the Court’s CM/ECF System.
                   8   ☒    (Federal)    I declare that I am employed in the office of a member of the State
                   9
                                         Bar of this Court at whose direction the service was made. I
                                         declare under penalty of perjury under the laws of the United States
                  10
                                         of America that the above is true and correct.

                  11
                       ☐    (Federal)    I declare that I am a member of the State Bar of this Court at whose
                                         direction the service was made. I declare under penalty of perjury
                  12
                                         under the laws of the United States of America that the above is
                                         true and correct.
                  13        I declare under penalty of perjury under the laws of the United States of America
                  14
                     that the above is true and correct.

                  15        Executed on June 17, 2020, at Costa Mesa, California.
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                                                                   Lisa Sles
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                                                      PROOF OF SERVICE
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                                                  #:187


                   1                              SERVICE LIST
                   2

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                                                       3                   Case No. 2:20-cv-05008-JFW-KS
                                                PROOF OF SERVICE
